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                                                               UNITED STATES DISTRICT
                                                               COURT SOUTHERN DISTRICT
                                                               OF FLORIDA

   VICTOR SEPULVEDA
                                                               Case No.: 1-21-CV-23267
                  Plaintiff,

   v,

   THE CITY OF DORAL, a municipal corporation,
   OMAR FELIPE, individually, ALBERTO TELLEZ,
   individually, MICHAEL ACOSTA, individually,
   and JAVIER DIAZ, individually. ,

               Defendants
   ____________________________________/

          DEFENDANTS’ SUPPLEMENTAL RULE 26(a) INITIAL DISCLOSURES

         Defendants, The City of Doral, Omar Felipe, Alberto Tellez, Michael Acosta, and Javier

  Diaz (“Defendants”), by and through its undersigned counsel and pursuant to Fed. R. Civ. P. 26(a),

  hereby provides its Supplemental Initial Disclosures as follows:

  A.     INDIVIDUALS LIKELY TO HAVE DISCOVERABLE INFORMATION

         1.      Victor Sepulveda
                 Plaintiff
                 5077 SW 7th St
                 Miami, FL 33134
                 Subject: Circumstances of incident and damages

         2.      Daniel W. Courtney, Esq.
                 Plaintiff’s Attorney
                 10800 Biscayne Blvd., Suite 700
                 Miami, FL 33161
                 Subject: Circumstances of incident and damages

         3.      Representative of The City of Doral
                 c/o Kelley Kronenberg
                 Subject: Policies, procedures, circumstances of incident
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        4.    Omar Felipe
              Employee of The City of Doral
              c/o Kelley Kronenberg
              Subject: Circumstances of incident and damages; policies and procedures

        5.    Alberto Tellez
              Employee of The City of Doral
              c/o Kelley Kronenberg
              Subject: Circumstances of incident and damages; policies and procedures

        6.    Michael Acosta
              Employee of The City of Doral
              c/o Kelley Kronenberg
              Subject: Circumstances of incident and damages; policies and procedures

        7.    Javier Diaz
              Employee of The City of Doral
              c/o Kelley Kronenberg
              Subject: Circumstances of incident and damages; policies and procedures

       8.     Hans Gonzalez
              Employee of The City of Doral
              c/o Kelley Kronenberg
              Subject: Circumstances of incident and damages; policies and procedures

       9.     Maylee Bardelas
              Employee of The City of Doral
              c/o Kelley Kronenberg
              Subject: Circumstances of incident and damages; policies and procedures

       10.    Glenn Stolzenberg
              Employee/Corporate Representative of The City of Doral
              c/o Kelley Kronenberg
              Subject: Circumstances of incident and damages; policies and procedures

       11.    Samika Gibson
              Employee/Corporate Representative of The City of Doral
              c/o Kelley Kronenberg
              Subject: Circumstances of incident and damages; policies and procedures

       12.    Kendall Regional Hospital
              11750 SW 40th St
              Miami, FL 33175
              Subject: Circumstances of incident and damages




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        13.   Any person with knowledge of Plaintiff’s prior medical conditions and/or accidents
              and/or injuries (to be discovered).

        14.   Any other prior treating physicians of Plaintiff (to be discovered).

        15.   Any other treating physicians of Plaintiff in relation to this incident (to be
              discovered).

        16.   Any employers of Plaintiff (to be discovered).

        17.   Discovery and investigation are just beginning, and the Defendants reserve the right
              to supplement their disclosures.

  B.    DESCRIPTION OF DOCUMENTS & THINGS THAT MAY BE USED TO
        SUPPORT DEFENSES

        1.    Incident/Investigation Report of subject incident.

        2.    Plaintiff’s June 8, 2020 Notice of Claim, which is in possession of Plaintiff.

        3.    Complaint/Arrest Affidavit of subject incident.

        4.    City of Doral Police Department Case Supplemental Report.

        5.    The City of Doral Police Department D.U.I. Package of subject incident.

        6.    Documents regarding Defendant’s policies, procedures, rules.

        7.    Discovery and investigation are just beginning, and the Defendants reserve the right
              to supplement their disclosures as Defendants believe there will be additional
              documentation to support their defenses.

  C.    COMPUTATION OF DAMAGES CLAIMED

        1.    Not applicable.

  D.    INSURANCE AGREEMENT(S)

        1.    General Liability Declarations Page: $5 million per occurrence.

        Dated: March 9, 2022.

                                                    /s/ Mirelis Castilla
                                                    MIRELIS CASTILLA, Esq.
                                                    Florida Bar No.: 40831
                                                    KELLEY KRONENBERG

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                                                     10360 West State Road 84
                                                     Fort Lauderdale, FL 33324

                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 9, 2022 I electronically filed the foregoing document
  with the Clerk of Court using CM/ECF. I also certify that the foregoing document is being served
  this day upon the attached service list, either via transmission of Notices of Electronic Filing
  generated by CM/ECF or in some other authorized manner for those counsel of parties who are
  not authorized to receive Notices of Electronic Filing.
                                                     /s/ Mirelis Castilla
                                                     MIRELIS CASTILLA, Esq.
                                                     Florida Bar No.: 40831
                                                     KELLEY KRONENBERG
                                                     10360 West State Road 84
                                                     Fort Lauderdale, FL 33324
                                                     Telephone: (954) 370-9970
                                                     Facsimile: (954)382-1988
                                                     Attorneys for City of Doral, Omar Felipe,
                                                     Alberto Tellez, Michael Acosta, and Javier
                                                     Diaz

                                             SERVICE LIST

  Daniel W. Courtney, Esq
  Daniel W. Courtney, P.A.
  10800 Biscayne Blvd., Suite 700
  Miami, FL 33161
  Via CM/ECF




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